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                     IN THE UNITED STATES DISTRICT COURT

                   FOR THE WESTERN DISTRICT OF WISCONSIN

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UNITED STATES OF AMERICA,
                                                                 ORDER
                             Plaintiff,
                                                                08-cr-159-bbc
              v.

MARGRETTE COBB,

                             Defendant.

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       Defendant Margrette Cobb has filed objections to the United States Magistrate

Judge’s report in which he recommended denial of defendant’s motion to suppress the

statements she made to law enforcement officers at the office of her state probation officer

on April 10, 2008.     Defendant argues that the magistrate judge erred in relying on

Minnesota v. Murphy, 465 U.S. 420 (1984), and United States v. Cranley, 350 F.3d 617

(7th Cir. 2003), cases in which the Supreme Court and the Court of Appeals for the Seventh

Circuit held that statements given in similar circumstances could be used in evidence against

the probationer-defendant.

       Defendant maintains that a reasonable person in her position would have known that

she must comply with the directive of her probation officer to meet with a police officer


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because the alternative would be the revocation of her probation. This may be true as a

general rule, but defendant’s probation officer told her specifically that the interview with

the police was not part of her probation. The interviewing detective told her at least four

times that she did not have to talk to them, that she was not under arrest and that they

would not arrest her even if she declined to talk. Defendant agreed to cooperate and gave

the officers information. Even if she had feared revocation if she did not talk, both Murphy

and Cranley hold that fear of revocation is not a sufficient reason in itself to suppress

incriminating statements. “It is one thing if the police tell the probationer that unless he

talks, his probation will be revoked; that places a price on his invoking [his Fifth

Amendment] privilege that the Court thought excessive [in Murphy].” Cranley, 350 F.3d

at 622. However, mere fear that probation might be revoked “is not a heavy enough penalty

to excuse the failure to assert the privilege.” Id.

       Defendant argues that she could not invoke the Fifth Amendment because, under

Wisconsin law no probationer can refuse to answer incriminating questions by a probation

officer. Wisconsin offsets this requirement by prohibiting the use of any such answers in a

separate criminal proceeding.     It is not clear how defendant thinks this bears on her

situation, in which her probation officer told her specifically that the interview with the

police was not part of her probation. A person hearing this from her probation officer and

hearing four times from the interviewing detective that she need not answer any questions


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cannot claim to have been coerced into giving statements. Not, at least, when there is no

other evidence to support such a claim.

      I agree with the magistrate judge’s conclusion that defendant was not coerced into

making any of the statements she made to law enforcement on April 10, 2008. Accordingly,

I will adopt the magistrate judge’s recommendation and deny defendant’s motion to

suppress.




                                          ORDER

      IT IS ORDERED that defendant Margrette Cobb’s motion to suppress the statements

she made to law enforcement on April 10, 2008 is DENIED.

      Entered this 25th day of March, 2009.

                                          BY THE COURT:
                                          /s/
                                          BARBARA B. CRABB
                                          District Judge




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